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                                                                                              FILED
                                                                                          N OP-':' COURT


                    IN THE UNITED STATES DISTRICT COURT FOR TE E
                             EASTERN DISTRICT OF VIRGINIA
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                                       Alexandria Division
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                                                                                     AliXANDRiA. VIRGl:^;iA

UNITED STATES OF AMERICA                            No. 1:19-CR-122


               V.                                   Count I: Receipt of Child Pornography
                                                    (18 U.S.C. § 2252(a)(2) and (^(1^)
JAMES E. BACIGALUPO,IV,
                                                    Count 2: Possession of Child Pornography
               Defendant.                           (18 U.S.C. § 2252(a)(4)(B) and (b)(2))

                                                    Forfeiture Notice


                                        INDICTMENT


                          April 2019 Term - at Alexandria, Virginia

                                           COUNT 1
                                (Receipt of Child Pornography)

THE GRAND JURY CHARGES THAT:


       From in or around December 2016 to in or around July 2017, in Manassas, Virginia,

within the Eastern District of Virginia, the defendant, JAMES E. BACIGALUPO,IV,!knowingly

received and attempted to receive one or more visual depictions using a means and facility of

interstate and foreign commerce, and which visual depictions had been shipped and transported

in and affecting interstate and foreign commerce, and which contained materials which had been

so shipped and transported, by any means including by computer; and the production ofsuch

visual depictions involved the use of a minor engaging in sexually explicit conduct and the visual

depictions were ofsuch conduct, namely: digital videos and images depicting minors engaged in

sexually explicit conduct that were saved to computer folders titled "Jim Bacigalupo/Downloads/

eMule/Incoming,""Jim Bacigalupo/Desktop/DDDA Saves,""Jim Bacigalupo/Desktop/misc,"

and their subfolders.


         (In violation of Title 18, United States Code, Sections 2252(a)(2), 2252(b)(1).)
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